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                              UNITED STATES BANKRUPTCY COURT
                                           FOR THE
                                 DISTRICT OF MASSACHUSETTS


  In re:
                                                                  Chapter 7
  Thomas G. Dolan.                                                Case No. 19-12386-FJB

                                 Debtor.

                                        CERTIFICATE OF SERVICE

      I, Joseph G. Butler, do hereby certify that on September 25, 2020, I served a copy of the

Application by Trustee to Employ Verdolino & Lowey, P.C. as his Accountants and proposed order on

the persons on the attached service list by causing a copy of the same to be mailed by first class mail,

postage prepaid or as otherwise indicated on the service list.

      Signed under the penalties of perjury September 25, 2020.

                                            /s/Joseph G. Butler
                                            Joseph G. Butler
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                                      Service List
                                   Thomas G. Dolan
                                 Case no. 19-12386-FJB

VIA ECF

      Eric K. Bradford Eric.K.Bradford@USDOJ.gov
      Joseph G. Butler JGB@JGButlerlaw.com, JGButlerlaw@gmail.com
      Joseph G. Butler JGBBarron@yahoo.com, MA41@ecfcbis.com
      Martin B. Dropkin nmatza@hotmail.com,
       mdropkin@dropkinmatza.com;nastor@dropkinmatza.com
      John Fitzgerald USTPRegion01.BO.ECF@USDOJ.GOV
      John C. La Liberte JCLaLiberte@sherin.com, sworfolk@sherin.com
      Jason A. Manekas jmanekas@bg-llp.com, kpurvis@bg-llp.com
      Nancy Gail Matza nmatza@hotmail.com, nastor@dropkinmatza.com

VIA US MAIL

Amex
P.O. Box 981537                               Citibank
El Paso, TX 79998-1537                        c/o Midland Funding LLC
                                              3111 Camino Del Rio Dr North
Amijane Haust                                 Suite 103
15 Glenn Rd                                   San Diego, CA 92108-5721
Reading, MA 01867-2314

Barclays Bank Delaware                        Citizens Bank NA
P.O. Box 8803                                 480 Jefferson Blvd
Wilmington, DE 19899-8803                     Warwick, RI 02886-1359

Capital Management Services LP                Collection
698 1/2 South Ogden St                        120 Corporate Blvd Ste 1
Buffalo, NY 14206-2317                        Norfolk, VA 23502-4952

CAPITAL ONE                                   ComenityBank/JCrew
PO BOX 30285                                  PO Box 182789
SALT LAKE CITY UT 84130-0285                  Columbus, OH 43218-2789

Capital One/Bose                              Discover Fin Svcs LLC
PO Box 30253                                  POB 15316
Salt Lake City, UT 84130-0253                 Wilmington, DE 19850-5316

CES/SallieMae                                 Hanscom Federal Cr Union
C/O ACS                                       25 Porter Rd Ste 100
Utica, NY 13501                               Littleton, MA 01460-1434
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                                              1 Financial Pkwy
Internal Revenue Service                      Kalamazoo, MI 49009-8002
P.O. Box 7346
Philadelphia, PA 19101-7346                   The Bureaus, Inc.
                                              c/o PRA Receivables Management, LLC
JPMCB Card                                    PO Box 41021
PO Box 15369                                  Norfolk, VA 23541-1021
Wilmington, DE 19850-5369
                                              Verizon Wireless
Levitt Law Group                              c/o McCartht Burgess & Wolff
4 Meeting House Road                          26000 Cannon Rd
Suite 3                                       Cleveland, OH 44146-1807
Chelmsford, MA 01824-2775
                                              Zwicker & Associates
Lustig Glaser & Wilson PC                     80 Minuteman Rd
P.O. Box 549287                               Andover, MA 01810-1008
Waltham, MA 02454-9287
                                              Thomas G Dolan
Matthew Greene & Cassandra Baldassare         300 Trade Center
49 Fairview Avenue                            No. 1550
Reading, MA 01867-3418                        Woburn, MA 01801-7406

Navient                                       Massachusetts Department of Revenue
PO Box 9500                                   Bankruptcy Unit
Wilkes Barre, PA 18773-9500                   P O Box 9564
                                              Boston, MA 02114-9564
PNC Bank, N.A.
